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                 IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAI’I


   UNITED STATES OF                    CR. NO. 17-00101-LEK (01)
   AMERICA,
                                       DEFENDANT’S “MOTION IN
          Plaintiff,                   OPPOSITION TO COURT
                                       ORDER REGARDING THE
         v.                            FILING OF DOCUMENTS
                                       WITH UNNECESSARY
                                       PERSONAL IDENTIFYING
   ANTHONY T. WILLIAMS,                INFORMATION;”
                                       DECLARATION OF COUNSEL;
          Defendant.                   EXHIBIT “A;” CERTIFICATE
                                       OF SERVICE


    DEFENDANT’S “MOTION IN OPPOSITION TO COURT ORDER
        REGARDING THE FILING OF DOCUMENTS WITH
     UNNECESSARY PERSONAL IDENTIFYING INFORMATION”

   Comes now, the Defendant Anthony T. Williams, by and through

   his standby counsel, Lars Robert Isaacson, Esq., and submits

   DEFENDANT’S “MOTION IN OPPOSITION TO COURT ORDER
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   REGARDING          THE     FILING      OF     DOCUMENTS          WITH

   UNNECESSARY PERSONAL IDENTIFYING INFORMATION,”

   Declaration of Counsel, Exhibit “A” and Certificate of Service.



      Dated: January 16, 2020

                                      /s/ Lars Isaacson
                                 LARS ROBERT ISAACSON
                                 Standby Attorney for
                                 Defendant Anthony T. Williams
